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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

UNITED sTATEs or AMERICA,
Plaimirr,

v. Case No. 18-40054-01

WEILING NIELSEN,

Defendant.

 

 

PLEA AGREEMENT PURSUANT To FEDEILAL RULE
or CRIMINAL PROCEI)URE 11(¢)(1)(€)

The United States of America, by and through Assistant United States Attorney Christine
E. Kenney, Weiling Nielsen, the defendant, personally and With her counsel, Christopher M.
Joseph, hereby enter into the following plea agreement pursuant to Rule l l(c)(l)(C) of the Federal
Rules of Criminal Procedure:

l. Defendant’s Gl_iilty Plea. The defendant agrees to plead guilty to Count l of the
lnformation charging a Violation of 18 U.S.C. § 371, that is, Conspiracy to Cornmit Interstate
transportation in aid of racketeering enterprises, in violation of 18 U.S.C. § 1952. By entering into
this plea agreement, the defendant admits to knowingly committing the offense(s), and to being
guilty of the offense The defendant understands that the maximum sentence Which may be
imposed as to Count l of the ]nforrnation to Which she has agreed to plead guilty is not more than
5 years of imprisonment, a $250,000 fine, l year of supervised release, and a 3100.00 mandatory
special assessment The defendant further agrees to forfeit property or money to the United States,

as agreed

Ver. 17~09

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2. Factl_lal Basis for the Guiltv Plea. Tlie parties agree the facts constituting the
offense to which the defendant is pleading guilty are as follows:

The allegations of the Information are incorporated into this factual basis, along with the
following:

a) The defendant, Weiling Nielsen, owned and operated massage parlors in Kansas.
Between 2007 and l\/lay 2015, the defendant owned and operated lasmine
Massage in Topeka, Kansas. Between September 2010 and October 2015, the
defendant owned and operated Naima Asian Massage in Lawrence, Kansas.
Between October 2015, and continuing to approximately June 5, 2018, the
defendant owned and operated Serenity Health Spa (“Serenity”) in Lawrence,
Kansas.

b) The defendant and others agreed to violate federal law by establishing these
massage parlors as business enterprises involving the unlawful activity,
prostitution The objective of the agreement was to generate personal income by
providing customers with sexual services in exchange for cash remunerationl

c) The defendant knowingly and voluntarily participated in the conspiracy and
engaged in overt acts intended to further the agreement, including but not limited

to:

i. ln June 201.5, law enforcement interviewed a male patron who admitted
that he was a customer at lasmine Massage where he received manual
sexual stimulation from a woman he later identified as the defendant

ii. In July 2016, the defendant renewed the rental agreement for Serenity.
The rental agreement was for five years, and the rent and utilities were
paid in cash.

d) i`o further the agreement, the defendant and others engaged in unlawful conduct

intended to derive shared mutual benefits such as:

i. in September 2016, an undercover male (“UC”) went to Serenity and
discussed prices for various sex acts with one of the female employees

ii. ln l\/larch 2016, law enforcement began surveillance at Serenity and noted
that only male customers entered the business ln August 2017, law
enforcement conducted physical surveillance at Serenity. The officers
identified several customers, and conducted interviews Law enforcement
determined that these customers had frequented Serenity several times
between lanuary 2017, and April 2018. These customers reported that
they paid cash in exchange for sexual services during each visit.

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e) During and within the scope of the conspiracy, and to further its purpose, the
defendant and others utilized facilities in interstate commerce to promote the
unlawful activity and to distribute the proceeds of the unlawful activities such as:

i. The defendant and others promoted the enterprise through the use of the
lnternet on websites such as “Bacl<page.com.” During the investigation,
law enforcement learned that at least one customer used the intemet to
find a massage parlor that offered sexual servicesJ and located Serenity
through the website, c‘Rubmaps.corn.”

ii. The defendant promoted the enterprise through the use of interstate travel.
Namely, law enforcement reviewed the defendant’s flight history.
Between January 2012, and September 2016, the defendant flew from
California to Kansas City numerous times.

iii. The defendant and others further used facilities in interstate commerce to
distribute illicit proceeds by:

a. The defendant and her husband owned various bank accounts
between October 20, 2009, and October 2017. During this time,
the defendant and others deposited approximately $796,581 in
cash, including proceeds from the defendant’s massage parlor
businesses, into these accounts Between January 2015_, and
February 2016, the defendant or others on her behalf, made
approximately 25 cash deposits in Kansas to one of her bank
accounts

b. Between approximately l\/larch 25, 2011, and September 2, 2016,
the defendant or others on her behalf purchased money orders in
Topeka, Kansas, Lawrence, Kansas and lunction City, Kansas
using proceeds from the defendant’s massage parlor businesses
These money orders totaling over $230,000 were deposited into
one or more of the defendant’s bank accounts in California.
3. Praposed Rule 11(c}(1)(C) Sentence. The parties propose, as an appropriate
disposition of the case:
(a) three years of probation on Count l, 18 U.S.C. § 37l;
(b) no fine;

(c) the mandatory special assessment of 3100.00;

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The parties seek this binding plea agreement as an appropriate disposition of the case, because if
the Court permits itself to be bound by the proposed sentence, it brings certainty to the sentencing
process; it assures that the defendant and the government will benefit from the bargain they have
struck', it serves the interests of justice; and it assures a sentence consistent with the sentencing
factors of 18 U.S.C. § 3553(a). lf the Court does not agree with the sentence, the defendant and
United States may be restored to the positions they maintained prior to reaching this plea
agreement This plea agreement centers on the defendant’s agreement to enter her guilty plea as
soon as the Court’s schedule permits, thereby preserving valuable Court, prosecution, defense,
United States Probation Office, United States Marshals’ Service and other law enforcement
resources

4. Application of the Sentencing Guidelines. The parties are of the belief that the
proposed sentence does not offend the advisory sentencing guidelines Because this proposed
sentence is sought pursuant to Federal Rule of Criminal Procedure ll(c)(l)(C), the parties are not
requesting imposition of an advisory guideline sentence

5 . Government’s Agreements. ln return for the defendant’ s plea of guilty as set forth
herein, the United States agrees to dismiss the lndictment at the time of sentencing, agrees to not
file any additional charges against the defendant arising out of the facts forming the basis for the
present lndictment, and agrees to dismiss the indictment against the co-defendant, Eric Nielsen
(case no. 18-40054-02).

6. Conseqlrences for Violating the Plea Agreement. The United States’ obligations
under this piea agreement are contingent upon the defendant’s continuing to manifest an
acceptance of responsibility If the defendant denies or gives conflicting statements as to her

involvement, falsely denies or frivolously contests relevant conduct the Court determines to be

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true, willfully obstructs or impedes the administration of justice, as defined by U.S.S.G. § 3C1.1
(or willfully attempts to do so), or has engaged in additional criminal conduct, the United States
reserves the right to petition the Court for a hearing to determine if she has breached this plea
agreement

If the Court finds by a preponderance of the evidence that the defendant (1) has breached
or violated this plea agreement; (2) has willfully obstructed or impeded the administration of
justice, as defined by U.S.S.G. § 3Cl.l (or willfully attempted to do so); (3) has engaged in
additional criminal conduct; or (4) has otherwise failed to adhere to this plea agreement’s tenns,
this plea agreement will be deemed null and void, and the United States may pursue any additional
charges arising from the criminal activity under investigation, as well as any charges for any
perjury, false statement or obstruction of j ustice that may have occurred

lf the Court finds the defendant has violated this plea agreement she understands and
agrees that all statements she made, any testimony she gave before a grand jury or any tribunalJ or
any leads from such statements or testimony, shall be admissible against her in any and all criminal
proceedings The defendant waives any rights which might be asserted under the United States
Constitution, any statute, Federal Rule of Criminal Procedure 1 1(f), Federal Rule of Evidence 410,
or any other federal rule that pertains to the admissibility of any statements she made subsequent
to this plea agreement.

7. Whether to Accept the Proposed Plea Agreement and Sentence is Up to the
__(_3_931___1;_§._ The Court has no obligation to accept the proposed plea agreement and sentence lt is
solely within the Court’s discretion whether to accept the proposed binding plea agreement as an

appropriate disposition of the case.

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8. Withdrawal of Plea Permitted Onlv if the Court Does Not Accent the Plea
Agreement and Pronosed Sentence. if the Court agrees to be bound by the proposed plea
agreement and sentence, the parties shall be bound by all the terms of the proposed plea agreement
and the defendant will not be permitted to withdraw her guilty plea. lf the Court announces that it
will NOT be bound by the proposed plea agreement the parties agree that at that time either party
may withdraw the proposed plea agreementj and if either does so, then all parties will be restored
to the positions they were in prior to the entry of the defendant’s plea if neither party elects to
withdraw the proposed plea agreement at the time the Court announces that it will not be bound,
and before the Court proceeds with sentencing, then the parties shall be bound by all the terms of
the proposed plea agreement and the defendant will not be permitted to withdraw her guilty plea.

9. Forfeiture of Assets. The defendant knowingly and voluntarily agrees and
consents:

The defendant agrees to the imposition of a forfeiture judgment against her in the amount
of $650,000, which sum represents proceeds obtained from Count l. The defendant agrees that
the $650,000 judgment will be satisfied by paying it in full prior to the date of sentencing Failure
to fully satisfy the $650,000 prior to the date of sentencing constitutes a substantial breach of this
plea agreement The defendant agrees that the $650,000 shall be paid by certified funds or ACH
transfer to the United States Marshals Service. The defendant knowingly and voluntarily waives
her right to a trial regarding forfeiture, and voluntarily waives all constitutional, legal and equitable
defenses to the imposition of a forfeiture judgment The defendant acknowledges and agrees that
the imposition of a forfeiture judgment shall not be deemed an alteration of the defendant’s

sentence or this agreement and shall not be treated as satisfaction of any fine, restitution, cost of

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imprisonment or any other penalty the Court may impose upon her in addition to forfeiture

Additionally, the defendant agrees to the immediate entry of the Final Order of Forfeiture.

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Identification of Assets and Agreement Concerning Monetarv Penalties

(Rest_itution. Fines, Assessments) and Forfeiture. The defendant agrees to cooperate fully with

the United States Attorney’s Office and specifically agrees as follows:

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Defendant agrees to execute a financial statement provided by the United States
Attorney’s Office and to update the statement with any material changes within 30
days of any such change Defendant further agrees to provide all supporting
documentation, including, but not limited, to copies of federal tax returns The
defendant agrees to disclose all assets in which defendant has any interest or which
defendant exercises control, directly or iridirectly, including those held by a spouseJ
nominee or other third party, as well as any transfer of assets that has taken place
within six years preceding the entry of the judgment in this criminal case.
Additionally, the defendant agrees to periodically execute an updated financial
statement at the request of the United States Attorney’s Office until such time the
judgment debt is paid in full.

Defendant agrees to authorize the release of all financial information requested by
the United States, including, but not limited toJ executing authorization forms for
the United States to obtain tax infonnation, bank account records, credit history,
and social security information Defendant agrees the United States Attomey’s
Office may subpoena any records it deems relevant to conduct a full financial
investigation Defendant agrees to discuss or answer any questions by the United
States relating to its financial investigation

Defendant agrees to submit to an examination prior to and/or after sentencing,
which may be taken under oath, and/ or may include a polygraph examination

Defendant agrees that any waivers, consentsJ or releases executed for the United
States Probation Office for pmposes of preparation of the Presentence Report may
be provided to the United States Attorney’s Office All information defendant
provided to the United States Probation Office or independently obtained by the
United States Probation Office may be provided to the United States Attorney’s
Office

Defendant agrees not to encumber, transfer, or dispose of any monies, property, or
assets under defendant’s custody or control, without written approval from the
United States Attorney’s Office

Defendant agrees that whatever monetary penalties the Court imposes (including
any fine, restitution, assessment, or forfeiture judgment), will be due and payable

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immediately and subject to immediate enforcement by the United States. Should
the Court impose a schedule of payments, she agrees that the schedule of payments
is a minimum schedule of payments and not the only method, nor a limitation on
the methods, available to the United States to enforce the judgment lf defendant
is incarcerated, defendant agrees to participate in the Bureau of Prisons’ lnmate
Financial Responsibility Program, regardless of whether the Court specifically
directs participation or imposes a schedule of payments

lf defendant posted funds as security for defendant’s appearance in this case,
defendant authorizes the Court to release the funds to the Clerk of the United States
District Court to be applied to the criminal monetary impositions at the time of
sentencing

Defendant waives any requirement for demand of payment on any restitution, fine,
assessment or forfeiture judgment entered by this Court

Defendant agrees to notify the United States Attorney’s Office within 30 days of
any change of address or other contact information until the judgment debt is paid
in full.

Defendant agrees the terms of this agreement shall be incorporated into the
Judgment in a Criminal Case.

Defendant waives the administrative requirements of the Treasury Offset Program,
including the requirement of default, and agrees to be immediately included in the
Treasury Offset Program allowing federal benefits and payments to be offset and
applied to the balance of criminal monetary penalties

Defendant agrees that noncompliance with any of the terms set forth in this
paragraph will result in a continuance of the sentencing hearing

Pavrnent of Special Assessment. The defendant understands that a mandatory

special assessment of 8100.00 per count of conviction will be entered against her at the time of

sentencing The defendant agrees to deliver to the Clerk of the United States District Court

payment in the appropriate amount no later than the day of sentencing The defendant has the

burden of establishing an inability to pay the required special assessment The parties

acknowledge that if the Court finds the defendant is without resources to pay the special

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assessment at the time of sentencing the Court may allow payment during her period of
incarceration

12. Waiver of Appeal and Collateral Attack. The defendant knowingly and
voluntarily waives any right to appeal or collaterally attack any matter in connection with this
prosecution, her conviction, or the components of the sentence to be imposed herein, including the
length and conditions of supervised release, as well as any sentence imposed upon a revocation of
supervised release The defendant is aware that 18 U.S.C. § 3742 affords her the right to appeal
the conviction and sentence imposed By entering into this agreement the defendant knowingly
waives any right to appeal a sentence imposed in accordance with the sentence recommended by
the parties under Rule ll(c)(l)(C). The defendant also waives any right to challenge her sentence,
or the manner in which it was determined, or otherwise attempt to modify or change her sentence,
in any collateral attack, including but not limited to, a motion brought under 28 U.S.C. § 2255
(except as limited by United Sra.i‘es v. Cockerham, 237 F.3d l179, ll87 (10th Cir. 2001)), or a
motion brought under Federal Rule of Civil Procedure 60(b). ln other words, the defendant waives
the right to appeal the sentence imposed in this case, except to the extent, if any, the Court imposes
a sentence in excess of the sentence recommended by the parties under Rule ll(c)(l)(C).
However, if the United States exercises its right to appeal the sentence imposed, as authorized by
18 U.S.C. § 3742(b), the defendant is released from this waiver and may appeal the sentence
received, as authorized by 18 U.S.C. § 3742(a). Notwithstanding the foregoing waivers, the parties
understand that the defendant in no way waives any subsequent claims with regards to ineffective
assistance of counsel or prosecutorial misconduct

13. FOIA and Privacv Act Waiver. The defendant waives all rights, whether asserted

directly or by a representative to request or receive from any department or agency of the United

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States any records pertaining to the investigation or prosecution of this case, including, without
limitation, any records that may be sought underter Freedom of lnformation Act, 5 U.S.C. § 552.
The defendant further waives any rights conferred under the Privacy Act of 1974, 5 U.S.C. § 5 52a,
to prevent or object to the disclosure of records or materials pertaining to this case

14. Waiver of Cl_aim for Attornev’s Fees. The defendant waives all claims under the
Hyde Amendment, 18 U. S.C. § 3006A, for attorney’s fees and other litigation expenses arising out
of the investigation or prosecution of this matter.

15. __F_Lill Disclosure bv United States. The defendant understands the United States
will provide to the Court and the United States Probation Office all information it deems relevant
to determining the appropriate sentence in this case This may include information concerning her
background, character, and conduct, including the entirety of her criminal activities The
defendant understands these disclosures are not limited to the count to which she is pleading guilty.
The United States may respond to comments she or her attorney makes, or to positions she or her
attorney takes, and to correct any misstatements or inaccuracies The United States further reserves
its right to make any recommendations it deems appropriate regarding the disposition of this case,
subject only to any limitations set forth in this plea agreement The defendant also has the right to
provide information concerning the offense and to make recommendations to the Court and the
United States Probation Office

16. Parties to the Agreement. The defendant understands this plea agreement binds

 

only her and the United States Attorney for the District of Kansas, and that it does not bind any
other federal, state, or local prosecution authority.
17. No Other Agreernents. The defendant has had sufficient time to discuss this case,

the evidence, and this plea agreement with her attorney and she is fully satisfied with the advice

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and representation her attorney provided Further, the defendant acknowledges that she has read
the plea agreement understands it, and agrees it is true and accurate and not the result of any
threats, duress or coercion The defendant further understands that this plea agreement supersedes
any and all other agreements or negotiations between the parties, and that this plea agreement
embodies each and every term of the agreement between the parties

18. The defendant acknowledges that she is entering into this plea agreement and is
pleading guilty because she is guilty. She further acknowledges that she is entering her guilty plea

freely, voluntarily, and knowingly

//W/&M»m Date: @7.//. wm

Cinistine E. l{enney
Assistant United States Attorney

Date: 2 fbi l§`

 

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Supervisor13

 

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Bv Designation Date: 0? //- 02sz §
DUSTON .l. SLINKARD
Criminal Chief

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